 2022-a0552Case 2:22-cv-01480-EEF-DPC                   Document 1-3 Filed 05/25/22 Page 1 of 6
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38CilOn 13                             ORLEANS CIVII DISTRICT COURT                              DISTRICT COURT

                                                 STATE DE LOUISIANA

            NO.                                     DIVISION "        "         DOCIET NO.

                                                   KISHYNE LIVAS

                                                        VERSUS

                  UNITED FINANCIAL CASUALTY COMPANY, RAISER, LL C, AND UBER
                                     TE CHN OLOGIES, INC.




            FILED:
                                                          . DEPUTY.CLERIQ




                                            PETITION FOR DAMAGES1

                  NOW INTO COURT, through undersigned bonnäl, comès the                  lainliWKISHYNE

          LIfAS, persons of full age residing idOìÍeanshiÃh, ÉcuÜÉana, wno Íiles lhe present Peti onIÂr

          Damages, ánd réspecífúlly áves as folloivsi

                                                            1..



                  lüade defendanis herein are:

                  á. UNITED FINANCIAL CASUALTY.COMPANY, a foreign insuëmee compäny

                     audiprized tgdo and doing bus ess n the State ofiou sinna 3vhíáh at all times relevant

                     hereto had ih effect à polisy bf underinsurèd/uninsured röstorist coseragdinsuringlyl

                     Derini and/or I..Iber Technologies, Inc..as he acted at the direction f and in the course

                     and scope of his employment, agency, or otherwise with Uber Tëchnologies, Inccand

                     aùthorized ló do and doing bu ihess iri the State of IMuisiùúa,

                  b RAISER, L L        a   réign company and yvholly owned subs[ÊliaryofUber Tedhnologles,

                     Incoauthéized to do andning büsinessin the Stiite of Louisiàna.

                  c. UBER TECHNOLOGIES INC.( n foreign company pulhorized o do and doing

                     business in the S ate oflouisiana.

                                                           2.

                  Anne s proper Ü      rleans Pa sh as all the yvrongfùl cominct occurred n ihis Parish, a.

          C.C.P. Art 74

                                                           3..

                                                                                                  VERIFIED
                                                                                                  Amber Sheeler
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                  Said Defendants are liable unto the Plaintiffs for such damages as are ieasonable i
Section 13                                                                                           DISTRICT COURT
          prennses, together with legal interest from the date of judicial demand and all costs of these

          proceedings for the following reasons, to-wit:

                                                             4..


                On January 20th, 2021, at about 5:55 pm, Plaintill KISHYNE LIVAS was a passenger in a

          vehicledrivenbyLyleDemiis. Denniswaswithinthecourseandscopeofhisemployment,agency,

          joint venture or otherwise as an Uber driver with, for, and/or.at the direction of UBER

          TECHNOLOGIES and RASIER, LLC.

                                                             5.
                Mr. Dennis was operating his vehicle while logged into the Uber Rideshare Application and

          proceeding west in the right lane on Miiabeau Drive near its intersection with Pratt Drive. Without

          warning, an unknown vehicle shuck from the leA lane knock Mr. Demiis' vehicle into the guard rail,

          then fled the scene.

                                                             6.
                Because the at-fault vehicle fled the scene, no valid insurance policy could be found nuking

          UnitedFinancial Casualty CompanypolicyofUMInsuranceprimary.



                As a result of the above-described collision, the Plaintiffsuffeied debilitating injuries.

                                                             8..
                Plaintiffs aveis that at the time of this accident, UNITED FINANCIAL CASUALTY

          COMPANY automobile insurance camer, under a policy of insurance, was the uninsured motorist

          carrier of UBER TECHNOLOGIES.                    Therefore; UNITED FINANCIAL CASUALTY

          COMPANY isliabletothepetitionerforthe fullexteritofthedamages.

                                                             9.
                 That as a result of the accident, the Plaintiff sus rained severe and debilitating injuries to the

          mind and body, for which he was foiced to seek medical treatment.

                                                            10.
                 That as a direct and proximate iesult of the negligerice and/or fault of Defendants, your

          Plaintiffseeksdamages for the following:

             a) Past,presentandfuturemedicalexpenses;

             b) Past,presentandfuturephysicalpainandsufferingandlossoffunction;

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             c   Past, present and future mental anguish and emotional distress;                        C
Section 13                                                                                      DISTRICT COURT
             d) Lostwagesanddirninishedearningeapacity;

             e) Lossofenjoymentoflife;
             f) Specialcareandservicesand;

             g) Othersuchdamagesaswill be shown throughdiscoveryand/orattrial ofthismatter.

                                              DEMAND and PRAYER

                                                          1L

                 WHEREFORE,PlaintiffpraysthatDefendantsbedulycitedandservedwithacopyofthis

          PetitionforDarnages,toappearandanswersarneand,afteralllegaldelaysanddueproceedings are

          had herein, that there be judgrneut in favor ofyour Plaintiffs KISHYNE LIVAS against Defendants

          FINANCIAL CASUALTY INSURANCE COMPANY, UBER TECHNOLOGIES, INC., and

          RAISER, LLC,jointly, severally and in solido, in a full and true surn calculated to cornpensate the

          Plaintiff for the damages cornplained of herein, along with legal interest thereon from the date of

          judicial dernanduntilpaid,forallcostsoftheseproceedings,andforall generalandequitablerelief




                                                      Respectfully submitted,


                                                      kabeAt^fstatÄs
                                                      Robert J.Ferrier,Jr"(No.34214)
                                                      Ferrier Imw Firm
                                                      10001 Lake Forest Boulevard, 408
                                                      New Orleans, LA 70127
                                                      Telephone: (504) 302-2999
                                                      Facsimile: (504)355-1516




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Section 13                                    STATE OF LOUISIANA
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      NO.                                        DIVISION"         "          DOCKETNO.
                                                  KISHYNE LIVAS

                                                       VERSUS
                 UNITED FINANCIAL CASUALTY COMPANY, RAISER, LLC, AND UBER
                                    TECHNOLOGIES, INC.


                  RF I'F9T FOR WRTTTFN NOTTCF OF A99fCNMFNT ANDWRITTFN
                   NOTICF.0F ANYORDFH OR ll!nCMFNTMADFOR ftFNf1FRFn

                 In accordance with the provisions of Articles 1571 and 1572 of the Louisiana Code of

          Civil Procedure, you are hereby requested to give me, as counsel for the named Plaintiffs written

          notice, by mail, at least ten (10) days in advance of any date fixed for any trial or hearing in this

          case, whether on Exceptions, Motions, Rules, or trial on the merits..

                 In accordance with the provisions of Articles 1913 and 1914 of the Louisiana Code of

          Civil Procedure, you are also requeste d to send me notice of any Order or Judgment in this cause

          upon the entry of such Order or Judgement.

                 THUS DONE AND SIGNED in New Orleans, Louisiana on this                                day of

                        2022.




                                                              RESPECTFULLY SUBMITTED:


                                                               kabe4t^fstAÁs.
                                                              Robert Ferrier,Jr..(Bar#34214)
                                                              10001 Lake Fo est Boulevard, 408
                                                              New Orleans, LA 70127
                                                              Phone: 504-302-2999
                                                              Fax: 504 355-1516




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                             The Ferrier Law Firm, LLC                                                           civit
Section13                               10001 LakeForestBoulevard, Suite408                           "™mcouar
                                               New Orleans, LA 70127
                                      Phone: 504-302-2999 Fax: 504-302-2999

                                                     knuary 20". 2021

          Via: Orleans Civil District Court Website
          Clerk of Court
          Orleans Civil District Court .
          421 Loyola Avenue
          New Orleans, LA 70112

          Re: Kishyne Livas vs. United Financist Casualty Company, et. al


                       Attached youwi1111nd a civi1cover sheet,PetitionforDamages, Jury Onfer, Request
              for Written Notice ofAssignment, and Written Notice ofAny Order or Judgment Made or
              Rendered, whichwewouldliketorequestthatyourofficefileintotherecordandissueservice
               as requested.

                     Please do not hesitate to give us a call if you have any ques tiens or require additional
              infermation.


          Sincerely,

          ÑOber$ Tessier,

          Robed Ferrier
          Attorney at Law




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